    TRANSCRIPT ORDER
             Case     FORM (DKT-13)
                  4:17-cv-01512     - READ123
                                Document   INSTRUCTIONS    ON LAST
                                               Filed on 03/04/20     PAGE BEFORE
                                                                 in TXSD  Page 1 ofCOMPLETING
                                                                                    2

District Court __________________________________________
               U.S. District Court for the Southern District of Texas, Houston Division District Court Docket No.____________________________________
                                                                                                                 4:17-cv-01512

Short Case Title ____________________________________________________________________________________________________
                 Connors v. Hulipas, et al.

ONLY ONE COURT REPORTER PER FORM Court Reporter _____________________________________________________
                                                Fred Warner


Date Notice of Appeal Filed in the District Court ________________________
                                                  February 25, 2020        Court of Appeals No. _________________________
                                                                                                unknown


PART I. (To be completed by party ordering transcript. Do not complete this form unless financial arrangements have been made, see
instructions on page 2.)
A. Complete the Following:
☐No hearings ☐Transcript is unnecessary for appeal purposes ☐Transcript is already on file in the Clerk’s Office
 OR
 Check all of the following that apply, include date of the proceeding.
 This is to order a transcript of the following proceedings: ☐Bail Hearing _________________ ☐Voir Dire ________________
☐Opening Statement of Plaintiff ________________ ☐Opening Statement of Defendant _________________
☐Closing Argument of Plaintiff ________________ ☐Closing Argument of Defendant:________________
☐Opinion of court _________________ ☐Jury Instructions ________________ ☐Sentencing _________________
Other proceedings not listed above:
 Hearing Date(s) Proceeding                                                          Judge/Magistrate
  September 13, 2019   Hearing on Plaintiff's Emergency Motion for Preliminary Injunction and Motion for Temporary Restraining Order   Hon. Vanessa D. Gilmore




Failure to specify in adequate detail those proceedings to be transcribed, or failure to make prompt satisfactory
financial arrangements for transcript, are grounds for DISMISSAL OF APPEAL.
B. This is to certify satisfactory financial arrangements have been made. Method of Payment:
☐Private Funds; ☐Criminal Justice Act Funds (Enter Authorization-24 via eVoucher);
☐Other IFP Funds; ☐Advance Payment Waived by Reporter; ☐U.S. Government Funds
☐Other____________________________________________________________________________________________________________

              /s/ Kelsey L. Warren
Signature_________________________________________________________ Date Transcript Ordered__________________________
                                                                                          March 4, 2020

Print Name_______________________________________________________
          Kelsey L. Warren                                        Phone ___________________________________________
                                                                        (512) 463-2130

Counsel for_________________________________________________________________________________________________________
           Defendants Edgar Hulipas and Terry Speer

Address____________________________________________________________________________________________________________
       300 W 15th Street, William P. Clements Building, Austin, Texas 78701-1220

Email of Attorney: _________________________________________________________________________________________________
                   kelsey.warren@oag.texas.gov

PART II. COURT REPORTER ACKNOWLEDGMENT (To be completed by the court reporter and filed with the Court of
Appeals within 10 days after receipt. Read instructions on page 2 before completing.)
 Date Transcript Order        Date Satisfactory Arrangements        Estimated Completion Date Estimated Number of
 Received                     for Payment were Made                                           Pages

Payment arrangements have NOT been made or are incomplete.
Reason: ☐Deposit not received ☐Unable to contact ordering party ☐Awaiting creation of CJA 24 eVoucher
                   ☐Other (Specify) _____________________________________________________________________________________

Date ____________________ Signature of Reporter ____________________________________________Tel._____________________
Email of Reporter _________________________________________________________________________________________________
Part III. NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN THE DISTRICT COURT (To be completed by
court reporter on date of filing transcript in the District Court. This completed form is to be-filed with the Court of Appeals.)

         This is to certify that the transcript has been completed and filed at the District Court today.

         Actual Number of Pages ___________________________                                                  Actual Number of Volumes________________________

Date ___________________________ Signature of Reporter ____________________________________________________________
                             TRANSCRIPT
                Case 4:17-cv-01512      ORDER
                                   Document     FORM
                                            123 Filed onINSTRUCTIONS
                                                         03/04/20 in TXSD Page 2 of 2

                    INSTRUCTIONS FOR ANYONE FILING A NOTICE OF APPEAL
1. Complete Part 1. Whether or not transcripts are being ordered. A single order form should be used for
the same court reporter with multiple proceedings (if the number of proceedings exceed the form
limitations, additional forms may be used).

2. Contact each court reporter involved in reporting the proceedings to make arrangements for payment.
A SEPARATE ORDER FORM MUST BE COMPLETED FOR EACH COURT REPORTER.

3. Send a copy of the form to the court reporter (via email or mail, ask court reporter). CJA counsel must
also enter an Authorization-24 in the U. S. District Court’s eVoucher System. Once the Authorization-24
is approved, create the CJA 24 eVoucher for payment.

4. File a copy of this form with the District Court.

5. File a copy of this form with the U.S. Court of Appeals for the Fifth Circuit (Attorneys must e-file. Pro
se filers must mail form unless authorized to e-file).

6. Send a copy to other parties.

7. Retain a copy for your files.

FAILURE TO MAKE SATISFACTORY ARRANGEMENTS FOR TRANSCRIPT PRODUCTION,
INCLUDING FINANCIAL ARRANGEMENTS WITHIN 14 DAYS OF THE FILING OF THE NOTICE
OF APPEAL, MAY RESULT IN THE DISMISSAL OF YOUR APPEAL.

This is an electronic version of the original multipart form. It is your responsibility for ensuring that the
correct number of copies are made to meet the distribution requirements.

                                     INSTRUCTIONS TO COURT REPORTER
To assure the Court of Appeals that the ordering party has fulfilled his or her obligations under FRAP 10(b), for
ordering and making adequate financial arrangements with the court reporter, you are requested to complete Part
II and file with the Court of Appeals within ten (10) days after receipt. For information on becoming an e-filer,
please contact a deputy clerk at the number below.

It is the appellant's responsibility to contact you and make financial arrangements before filling out the form.
However, if financial arrangements have not been made within ten (10) days after receipt of transcript order,
complete Part II and file with the Court of Appeals. If financial negotiations with the ordering party are still in
progress when the 10 days expires, contact a deputy clerk for additional time to complete this form.

If financial arrangements are made after you have notified the Court of Appeals that no financial arrangement
were made, immediately notify the Court in writing of the fact, furnishing the estimated delivery date.

THE JUDICIAL COUNCIL'S DISCOUNT DATE BEGINS TO RUN FROM THE DATE SATISFACTORY
FINANCIAL ARRANGEMENTS HAVE BEEN MADE.

WRITTEN REQUEST FOR EXTENSION OF TIME WITH EXPLANATION OF CIRCUMSTANCES AND A
REQUEST FOR WAIVER OF DISCOUNT MUST BE ADDRESSED TO THE CLERK OF THE CIRCUIT COURT.

Link to contact information: Contact Clerk's Office About My Case or call:
NORTHERN AND WESTERN TEXAS CASE TEAM: 504-310-7806
SOUTHERN AND EASTERN TEXAS CASE TEAM: 504-310-7807
LOUISIANA, MISSISSIPPI, & AGENCY CASE TEAM: 504-310-7808
